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                                                         CULPEPPER IP, LLLC
                                                                 ATTORNEY AT LAW
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                                                                  TEL: (808) 464-4047
* ADMITTED TO PRACTICE IN VIRGINIA, HAWAI’I                       FAX: (202) 204-5181
 AND BEFORE THE USPTO
                                                                 www.culpepperip.com
                                                                       ____________

                                                    SPECIALIZING IN PATENTS, TRADEMARKS & COPYRIGHTS


                                                              September 13, 2019
                                                            VIA FIRST CLASS MAIL
            Copyright Agent, Comscore, Inc.
            c/o Timothy B. Hyland
            HYLAND LAW PLLC
            1818 Library Street, Suite 500
            Reston, Virginia 20190



                                   Re: Copyright Claim


            Dear Mr. Hyland:

                    An electronic signature of the copyright owners, or a person authorized to act on behalf
            of the owners, of an exclusive copyright that has allegedly been infringed.


                        Kerry S. Culpepper authorized to act on behalf of owners Hunter Killer Productions, Inc.
                        /Kerry S. Culpepper/


                  State your contact information, including your TRUE NAME, street address, telephone
            number, and email address.


                        Kerry S. Culpepper, Esq.
                        Culpepper IP, LLLC
                        75-170 Hualalai Road
                        Suite B204
                        Kailua-Kona, Hawaii 96740
                        US Tel 1-808-464-4047
                        kculpepper@culpepperip.com


                     Identification of the copyrighted work claimed to have been infringed, or, if multiple
            copyrighted works at a single online site are covered by a single notification, a representative
            list of such works on that site.




                                                         Exhibit "1"
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          Infringement of the motion picture Hunter Killer is/was induced by (1) the content
  (promotional language of YTS); and/or (2) the link to download the torrent file of the motion
  picture at the website YTS.AM hosted and/or supported at following IP address at following
  times:


  No.        IP address                 Hit Date                    Infringing
                                                                    Website/Motion Picture
        1 8.25.104.5                    2018-04-06                  yts.am
                                        22:53:05.948171+00
        2    8.25.104.5                 2019-02-17 05:33:10         Hunter Killer


           Identification of the material that is claimed to be infringing or to be the subject of
  infringing activity and that is to be removed or access to which is to be disabled, and information
  reasonably sufficient to permit COMSCORE to locate the material.


        (1) the content (promotional language of website YTS.AM); and/or (2) the link to
  download the motion picture at the website; and/or (3) the motion picture Hunter Killer


          Information reasonably sufficient to permit COMSCORE to contact the Complaining
  Party, such as an address, telephone number, and, if available, an electronic mail address at
  which the Complaining Party may be contacted.


            Kerry S. Culpepper, Esq.
            Culpepper IP, LLLC
            75-170 Hualalai Road
            Suite B204
            Kailua-Kona, Hawaii 96740
            US Tel 1-808-464-4047


        A statement that the Complaining Party has a good faith belief that use of the material in
  the manner complained of is not authorized by the copyright owners, its agent, or the law.


         I, have a good faith belief that use of the material in the manner complained of is not
  authorized by the copyright owners, its agents, or the law.
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          A statement that the information in the notification is accurate, and under penalty of
  perjury, that the Complaining Party is the owners, or is authorized to act on behalf of the owners,
  of an exclusive right that is allegedly infringed.


         The information in the notification is accurate, and under penalty of perjury, I am
  authorized to act on behalf of owners Hunter Killer Productions, Inc. of an exclusive right that is
  allegedly infringed.


         Sincerely,
         /ksc/
         Kerry S. Culpepper
